                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )      Case No. 1:07-CR-79
 vs.                                                  )
                                                      )
 DWIGHT EFROM ROPER                                   )      JUDGE COLLIER


                                 MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on June 9, 2009, in accordance
 with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant for Offender
 Under Supervision of U.S. Probation Officer Sladjuana Hays and the Warrant for Arrest issued by
 Chief U.S. District Judge Curtis L. Collier. Those present for the hearing included:

                (1) AUSA James Brooks for the USA.
                (2) Defendant DWIGHT EFROM ROPER.
                (3) Attorney Ashley Ownby for defendant.
                (4) Courtroom Deputy Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified for
 the appointment of an attorney to represent him at government expense. Attorney Ashley Ownby
 was appointed to represent the defendant. It was determined the defendant had been provided with
 a copy of the Petition for Warrant for Offender Under Supervision and the Warrant for Arrest and
 had the opportunity of reviewing those documents with his attorney. It was also determined the
 defendant was capable of being able to read and understand the copy of the aforesaid documents he
 had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Brooks moved defendant be detained pending a hearing to determine whether his term
 of supervision should be revoked.

                                              Findings

        (1) Based upon U.S. Probation Officer Sladjuana Hays’ petition and defendant’s
        waiver of preliminary hearing and detention hearing, the undersigned finds there is

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       probable cause to believe defendant has committed violations of his conditions of
       supervised release as alleged in the petition.

                                          Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before Chief U.S. District
       Judge Curtis L. Collier.

       (2) The motion of AUSA Brooks that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
       Collier on Thursday, July 9, 2009, at 2:00 pm.

       ENTER.

       Dated: June 9, 2009                  s/William B. Mitchell Carter
                                            UNITED STATES MAGISTRATE JUDGE




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